           Case 1:17-bk-10721-MT Doc 75 Filed 09/19/21                                            Entered 09/19/21 21:14:02                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 17-10721-MT
Javier Primera                                                                                                         Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-1                                                   User: admin                                                                Page 1 of 3
Date Rcvd: Sep 17, 2021                                                Form ID: van101                                                          Total Noticed: 19
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 19, 2021:
Recip ID                   Recipient Name and Address
db                     +   Javier Primera, 9931 Roscoe Blvd, Sun Valley, CA 91352-3632
37683526               +   Bank Of America, Nc4-105-03-14, Po Box 26012, Greensboro, NC 27420-6012
37816840               +   Bank of America, N.A., P O Box 982284, El Paso, TX 79998-2284
37683527               +   Burbank City Fed Credit Union, 1800 West Magnolia Blvd, Attn: Loan Servicing, Burbank, CA 91506-1726
38007524               +   The Bank of New York Mellon Trust Compa, Serviced by Select Portfolio Servicing,, 3217 S. Decker Lake Dr., Salt Lake City, UT
                           84119-3284
37938917                   The Bank of New York Mellon Trust Company, Select Portfolio Servicing, Inc., P.O. Box 65250, Salt Lake City UT 84165-0250

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: itcdbg@edd.ca.gov
                                                                                        Sep 18 2021 00:21:00      Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
smg                        Email/Text: BKBNCNotices@ftb.ca.gov
                                                                                        Sep 18 2021 00:21:00      Franchise Tax Board, Bankruptcy Section MS:
                                                                                                                  A-340, P.O. Box 2952, Sacramento, CA
                                                                                                                  95812-2952
smg                        Email/Text: finance.bankruptcy@lacity.org
                                                                                        Sep 18 2021 00:21:00      Los Angeles City Clerk, P.O. Box 53200, Los
                                                                                                                  Angeles, CA 90053-0200
37718296                   Email/Text: ally@ebn.phinsolutions.com
                                                                                        Sep 18 2021 00:21:00      Ally Financial, PO Box 130424, Roseville MN
                                                                                                                  55113-0004
37683525               + Email/Text: ally@ebn.phinsolutions.com
                                                                                        Sep 18 2021 00:21:00      Ally Financial, Po Box 380901, Bloomington, MN
                                                                                                                  55438-0901
37683532               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Sep 18 2021 00:29:45      Macy's, Attn: Bankruptcy, Po Box 8053, Mason,
                                                                                                                  OH 45040
37924087                   Email/Text: bnc-quantum@quantum3group.com
                                                                                        Sep 18 2021 00:21:00      Department Stores National Bank, c/o Quantum3
                                                                                                                  Group LLC, PO Box 657, Kirkland, WA
                                                                                                                  98083-0657
37683530                   Email/Text: BKBNCNotices@ftb.ca.gov
                                                                                        Sep 18 2021 00:21:00      Franchise Tax Board, Attn: Bankruptcy Dept, PO
                                                                                                                  Box 2952, Sacramento, CA 95812-2952
37683531                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Sep 18 2021 00:21:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
37683528                   Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Sep 18 2021 00:29:54      Chase, Attn: Correspondence Dept, Po Box 15298,
                                                                                                                  Wilmingotn, DE 19850
37683529                   Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Sep 18 2021 00:30:03      Chase Mortgage, 3415 Vision Dr, Columbus, OH
                                                                                                                  43219
37939229                   Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Sep 18 2021 00:29:42      JPMorgan Chase Bank, N.A., National Payment
                                                                                                                  Services, Mail Code: OH4-7164, P.O. Box 24785,
                                                                                                                  Columbus, OH 43224-0785
37919434                   Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Sep 18 2021 00:29:42      JPMorgan Chase Bank, National Association, C/O
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District/off: 0973-1                                               User: admin                                                             Page 2 of 3
Date Rcvd: Sep 17, 2021                                            Form ID: van101                                                       Total Noticed: 19
                                                                                                             Chase Records Center, Attn: Correspondence
                                                                                                             Mail, Mail Code LA4-5555, 700 Kansas Lane,
                                                                                                             Monroe LA, 71203

TOTAL: 13


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 19, 2021                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 17, 2021 at the address(es) listed
below:
Name                             Email Address
Daniel K Fujimoto
                                 on behalf of Creditor The Bank of New York Mellon Trust Company N.A., f/k/a The Bank of New York Trust Company, N.A.,
                                 as Trustee, in trust for ChaseFlex Multi-Class Mortgage Pass-Through Certificates, Series 2007-1 wdk@wolffirm.com

Elizabeth (SV) F Rojas (TR)
                                 cacb_ecf_sv@ch13wla.com

Grace Chang-Rodriguez
                                 on behalf of Creditor JPMORGAN CHASE BANK N.A. grace.chang-rodriguez@chase.com

Joseph C Delmotte
                                 on behalf of Creditor The Bank of New York Mellon Trust Company N.A. f/k/a The Bank of New York Trust Company, N.A., as
                                 trustee for Multi-Class Mortgage Pass- Through Certificates Chase Flex Trust Series 2007- 1 ecfcacb@aldridgepite.com,
                                 JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com

Joseph C Delmotte
                                 on behalf of Interested Party Courtesy NEF ecfcacb@aldridgepite.com JCD@ecf.inforuptcy.com;jdelmotte@aldridgepite.com

Kiana Tebbs
                                 on behalf of Creditor SELECT PORTFOLIO SERVICING INC. kiana.tebbs@spservicing.com, kiana.tebbs@spservicing.com

Kristin A Zilberstein
                                 on behalf of Interested Party Courtesy NEF Kris.Zilberstein@Padgettlawgroup.com
                                 BKecf@padgettlawgroup.com;Kris.Zilberstein@ecf.courtdrive.com

Merdaud Jafarnia
                                 on behalf of Creditor JPMorgan Chase Bank N.A., successor in interest by purchase from the Federal Deposit Insurance
                                 Corporation as receiver for Washington Mutual bknotice@mccarthyholthus.com, mjafarnia@ecf.inforuptcy.com

Nancy L Lee
                                 on behalf of Creditor JPMORGAN CHASE BANK N.A. bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com

Nancy L Lee
                                 on behalf of Creditor JPMorgan Chase Bank N.A., successor in interest by purchase from the Federal Deposit Insurance
                                 Corporation as receiver for Washington Mutual bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com

Todd L Turoci
                                 on behalf of Debtor Javier Primera mail@theturocifirm.com

United States Trustee (SV)
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                           Imaged Certificate of Notice                     Page 3 of 4
District/off: 0973-1                                      User: admin                                     Page 3 of 3
Date Rcvd: Sep 17, 2021                                   Form ID: van101                               Total Noticed: 19
                          ustpregion16.wh.ecf@usdoj.gov


TOTAL: 12
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                        Imaged Certificate of Notice                          Page 4 of 4
FormCACB 101 (AO:12−13closedwodischarge)
(10/05)

                                          United States Bankruptcy Court
                                            Central District of California
                                       21041 Burbank Blvd, Woodland Hills, CA 91367−6603

                             NOTICE OF CHAPTER 12 OR 13 CASE CLOSED
                                       WITHOUT DISCHARGE

   DEBTOR(S) INFORMATION:                                                BANKRUPTCY NO. 1:17−bk−10721−MT
    Javier Primera                                                       CHAPTER 13
   aka Javier G Primera, aka Javier Gonzalez Primera
   SSN: xxx−xx−3616
   EIN: N/A
   9931 Roscoe Blvd
   Sun Valley, CA 91352



All creditors and parties in interest are notified that the above−captioned case has been closed without entry of discharge for the
reason(s) indicated below.

      Debtor did not file Official Form 423, Certification About a Financial Management Course.


      Debtor did not certify that all domestic support obligations due have been paid.

      Debtor did not file a Debtor's Certification of Compliance under 11 U.S.C. § 1328(a) and Application for Entry of
      Discharge.




                                                                                BY THE COURT,
Dated: September 17, 2021                                                       Kathleen J. Campbell
                                                                                Clerk of Court




(Form VAN−101 clsnodsc) rev. 12/2015                                                                                      74 / TTK
